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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
LOCAL 3621, EMS OFFICERS
UNION, DC-37, AFSCME,
AFL-CIO, et al.,
                                             Plaintiffs,                   ORDER

                          -against-                                  18-cv-4476 (LJL) (JW)

THE CITY OF NEW YORK, et al.,

                                             Defendants.
-----------------------------------------------------------------X
JENNIFER E. WILLIS, United States Magistrate Judge:

        On April 17, 2023, Plaintiffs wrote the Court requesting a conference to

resolve four discovery disputes. Dkt. No. 459. Defendants opposed the submission

on April 20, 2023. Dkt. No. 461.

        The Court held a conference on May 30, 2023.

        For the reasons discussed on the record, Plaintiffs’ first discovery request

is GRANTED in part. Defendants must produce “information regarding

applicants, postings, demographic data, and other relevant information regarding

the SEMSS positions… requested in Plaintiffs’ Document Requests #2, #3, #9,

#11, and #12.” See Dkt. No. 459. However, Defendants need only produce

information going back to 2004.

        As was also discussed more fully on the record, in accordance with the

Parties’ representations that the remaining disputes are either resolved or not

yet ripe for Court resolution, Plaintiffs’ second, third and fourth requests are

denied without prejudice.
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      The Parties are directed to request and order a transcript of the hearing

and provide a copy to the Court.

      SO ORDERED.

DATED:      New York, New York
            May 31, 2023
                                            ______________________________
                                            JENNIFER E. WILLIS
                                            United States Magistrate Judge




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